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 7 United States of America
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-90 MCE
11
                                  Plaintiff,            STIPULATION AND ORDER FOR EXCLUSION
12                                                      OF TIME UNDER SPEEDY TRIAL ACT
                            v.
13                                                      DATE: December 11, 2019
     ROBERT PIERRE DUNCAN, and                          TIME: 10:00 a.m.
14   EVA SYMONE CHRISTIAN,                              COURT: Hon. Morrison C. England, Jr.
15                               Defendants.

16
17          The United States of America, by and through Assistant U.S. Attorney Brian A. Fogerty, and
18 defendant Robert Pierre Duncan, by and through counsel Shari Rusk, and defendant Eva Symone
19 Christian, by and through counsel Kelly Babineau, hereby agree and stipulate as follows:
20          1.      On November 13, 2019, the Court set this case for a status conference to be held on
21 December 11, 2019. ECF No. 37. On December 3, 2019, the Court sua sponte vacated the December
22 11, 2019, status conference and reset it for January 23, 2020. ECF No. 38. The parties request that the
23 Court exclude time between December 9, 2019, and January 23, 2020, pursuant to the Speedy Trial Act
24 and Local Code T-4.
25          2.      The government has produced voluminous discovery in this case, including hundreds of
26 pages of documents, several cell phone extractions, and recordings of telephone calls that were
27 intercepted pursuant to court orders. Counsel for the defendants continue to need time to review the
28 allegations underlying all of the charges in the indictment, examine the evidence, confer with their


      STIPULATION AND ORDER                             1
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 1 respective clients, and prepare for trial. Counsel for both defendants are also simultaneously handling

 2 other matters in this Court and elsewhere, which provides an additional basis for the exclusion of time
 3 between December 9, 2019, and January 23, 2020.

 4          3.      Based on the foregoing facts, the parties agree that the interests of justice served by

 5 excluding the time between December 9, 2019, and January 23, 2020, under the Speedy Trial Act,
 6 outweighs the best interest of the public and the defendant in a speedy trial. The parties request that the
 7 Court adopt the facts set forth herein and order time excluded from December 9, 2019, to and including
 8 January 23, 2020, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4, to allow
 9 defense counsel to investigate and prepare for trial.
10
     Dated: December 9, 2019                                   McGREGOR W. SCOTT
11                                                             United States Attorney
12
                                                       By: /s/ BRIAN A. FOGERTY
13                                                         BRIAN A. FOGERTY
                                                           Assistant United States Attorney
14
15
     Dated: December 9, 2019                                   /s/ SHARI RUSK
16                                                             SHARI RUSK
17                                                             Counsel for Defendant
                                                               Robert Pierre Duncan
18
19   Dated: December 9, 2019                                   /s/ KELLY BABINEAU
                                                               KELLY BABINEAU
20                                                             Counsel for Defendant
                                                               Eva Symone Christian
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      STIPULATION AND ORDER                                2
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               Case 2:19-cr-00090-KJM Document 40 Filed 12/12/19 Page 3 of 3

 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefrom, adopts the parties’ stipulation in its entirety as its order. The Court specifically

 4 finds that based on the facts set forth in the parties’ stipulation, the failure to exclude the time between
 5 the December 9, 2019, and January 23, 2020, would deny counsel reasonable time necessary for
 6 effective preparation, taking into account the exercise of due diligence. The Court further finds the ends
 7 of justice are served by the continuance and outweigh the best interests of the public and the defendant
 8 in a speedy trial. Time from December 9, 2019, to and including January 23, 2020, is excluded from the
 9 computation of time within which the trial of this case must commence under the Speedy Trial Act,
10 pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T-4.
11          IT IS SO ORDERED.

12 Dated: December 11, 2019
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      STIPULATION AND ORDER                               3
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